Case 18-30975-KKS Doc 13-1 Filed 12/21/18 Page 1 of 3

MIN
MERS Teleplaone :w

Note

NOTICE: THIS LOAN IS NOT ASSUMABLE WITHOUT THE
APPROVAL OF THE DEPARTMENT OF V
OR l'I`S AUTH()RIZED AGENT. ETERANS AFFAIRS

Jannary 31, 2013 Flushinq _ MI
[Da tc] [Ci't_‘y] [Stat‘e]

274 Lee Road 2170
Phen.i,x Cit;y, AL 36870
[Propetty Addre.ss]

1.` eorn=towm s mcentee To PAv

In return for a loan that l have received l promise to pay U.S. $ 183 , 369. 00 (this amount is called "Princtpal").
plus interest, to tlte order of the Lender. The Lender is E’reedom Mortgage Corporat:ion

I will make ali payments under this Note in the form of cash, check or money order1

l understand that the Lentfer may transfer this Note. The I_,ender or anyone who takes this Note by transfer and who is
entitled to receive payments under this Note is called the "Note Holder."

2. lNTE?BT

lnterest Will be charged on unpaid principal until the full amount of Principal has been paid. l will pay interest at a yearly
rate of 3.375 %.

The interest rate required by this Section 2 is the rate l will pay both before and after any default described in Section 6(B)
of this Note.

3.ll PA‘{MENTS _
1 (A) Time and Ptace of Payments
l will pay principal and interest by making a payment every monttt.

Iwiil make my monthly payment on the let clay of each month beginning on March l, 2013 . lwill make
these payments every month until l have paid all of the principal and interest and any other charges described below that I may
owe under this Note` E`.at:h monthly payment will be applied as of its scheduled due date and will he applied to interest before
Principal. lf, on February l , 2 64 3 , l still owe amounts under this Note, l will pay those amounts in full on that date,
Which is called the "l\/laturity Date."

Iwill make my monthly payments at P .O. ch BOESB , V:trqiriia Beacl'i, '\/‘A 23450-80€8

or at a different place if required by the Note Holder.
(B) Amount of Monthly Payments
, My monthly payment will be in the amount of U.S. $ 310. 67

4. BORROWERS R|GHT TO PRE°A`{

.\ The Borrower shall have the right to prepay at any time, without premium or fee, tile entire indebtedness or any part
thereof not less than the amount of one installment, or 5100.{}0, whichever is less. Any Prepayment in full of the indebtedness
shall be credited on the date received, and no interest may be charged thereafter Any partial Prepayrnent made on other than an
installment due date need not be credited until the next following installment due date or 30 days after such Prepaymont,
whichever is earlier.

M\§§T|S:AATE FI)ZESEF:?'_TE NOTE~SE le anity'Fannle Mne/Frendie Mac Ferén 323;]¢ 16?%},
U N tNSTR -Vet.eca ns irs men

vnpg§ a mean n 103).00
Woltét‘$ Kldwer Flnart:|al S€rvlcés Pagc ‘l uf 3

 

Case 18-30975-KKS Doc 13-1 Filed 12/21/18 Page _2 of 3

5.' LOAN CHARGES

` if a law, which applies to this loan and Which sets maximum loan charges, is finally interpreted so that the interest or
other loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (a) any such loan
charge shall be reduced by the amount necessary to reduce the charge to tile permitted limit; and (b) any sums already collected
l"rot_n me Wltich exceeded permitted limits will be refunded to me. ’l‘he Note Holder may choose to make B:is refund by reducing

the'§Prlncipal l owe under this Note or by making a direct payment to me_ Il` a refund reduces Principal, the reduction Wiil be
treated as a partial Prepaytnent.

6.' BORROWER‘S FAlLURE TO PAY AS REQU\RED

(A) Late Charge for Ovendue Paymants

if the Note Holder has not received the full amount of any monthly payment by the end of 15 calendar
days after the date it is due. l will pay a late charge to the Note Holder. The amount of the charge will he 4 . 000 % of
my`ovetdue payment l will pay this late charge promptly but only once on each late paymentA
Ttie greater of 518 . OG or 4 . 00% of the late payment, not to exceed $100

(B) Default

lfl do not pay the full amount of each monthly payment en the date it is due, l will be in default.

(C) Notice of Defau|t
If l am in default, the Note Holder may send me a written notice telling me that if l do not pay the overdue amount by a
certain date, the Note Holder may require me to pay immediately the full amount of Princlpal which has not been paid and all

the interest that l owe on that amount. That date must be at least 30 days after the date on which the notice is mailed to me or
delivered by other means

‘ (D) Nn Waiver By Note Holder
Even if, at a time when I amin default, the Note Holder does not require me to pay immediately in full as described
above, the Note I~iolder will still have the right to do so lfl amin default at a later time

(E) Payment of Note means costs and o<pem=ee

}, l£ the Note Holder has required me to pay immediately in full as described above, the Note Holder Will have the right to
be iiiaid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law. Those
expenses include, for example reasonable attorneys' fees.

7. 'GIVING OF NOT[CES
Unless applicable law requires a different method, any notice that must be given to me under this Note will he given by
delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if I give the Note
Holder a notice ot` my different address
_= Any notice that must be given to the Note Hoider under this Notc will be given by delivering it or by mailing it by first
class mail to the Note Holder at the address stated in Section 3(A) above ot at a different address if l am given a notice of that
different address . .

8. OBLIGAT|ONS GF PERSONS UNDER Tl'llS NOTE

If more than one person signs this Note, each person is fully and personally obligated to keep all of the promises made in
this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser of this Note is
also obligated to do these things Any person Who takes over these obligations including the obligations of a guarantor, surety
or endorser of this Note, is also obligated to keep ali of the promises made in this Note. Tbe Note Holcler may enforce its rights
under this Note against each person individually or against all af us together. This means that any one oE us may be required to
pay all of the amonnts owed under this Note.

e. wAlvens

=l land any other person who has obligations under this Note waive the rights oi` Presentment and Notiee of Dishonor.
"Presentnient“ means the right to require the i\lote Holder to demand payment of amounts due. "Notice of Dishonor" means the
right to require the Notc Holder to give notice to other persons that amounts due have not been paid.

 

l\lIULl'ISTATE FlXED RATE NUTE~S| e Family~Far\r\ié Ma):fFrnddlv Mac thm 3200 'llO'i
HNIFQ' N| lNS¥RUMENT-\fmrans Ar ake Amended 6100
M t

P vMPsG ('t ioa).oo
Wo|ter; Ktnvvar Financlsi Services - Page 2 at 3

 

Case 18-30975-KKS Doc 13-1 Filed 12/21/18 Page 3 of 3

1Q. ALLONGE TO TH|S NOTE

w Ii" an aiionge providing for payment adjustments or for any other supplemental information is executed by the Borrower
together with this Nete, the covenants of the allonge shall be incorporated into and shall amend and supplement the covenants of
this Note as if the allonge Were a part of this Nute, iClteck applicable box]

: l:l Gradnated Payment Allonge . l:l Other [Specify] m Other [Specli’y]

11. UN|FORM SECUREJ NGTE

This Note is a uniform instrument with iimited variations in some jurisdictions ln addition to the protections given to the
Note Holder under this Noto, a Mortgage, Deed of Trust, or Security Deed (tlte "Securlty lnstrnment“), dated the same date as
this Note. protects the Note Holder from possible losses which might result if l do not keep the promises which 1 make in this
Note. That Security Instrument describes how and under what conditions l may he required to make immediate payment in full
of all amounts I owe under this Note. Some of those conditions are described as follows:

Regn!ations (38 C.F.R. Pnrt 36) issued under the Department of Veterans Aii`airs ("VA") Guaranteed Loan
Authority (38 U.S.C. Chapter 37) and in effect on the date of loan closing shall govern the rights, duties and

liabilities of the parties to this loan and any provisions of this Note Which are inconsistent with such
regulations are hereby amended and supplemented to conform tliereto,

CAUTION - I'.l‘ XS IMPORTANT THAT YOU THOROUGHLY READ THE CONTRACT BEFORE YOU SIGN IT.

WiUESS THE HAND(S) AND SEAL(S) OF TH'E UNDERSIGNED.

%'/ {Sea|)

 

 

 

 

, (Seal)
John 3 Seibert -Bortower »Borrower
(Sea|) (Seal)

-Borrower »Bormwer

[élgn Orlginai Only]

l:l Refer to the attached tS't:gna ture Addepdum for additional parties and signatures

t
t

wmu'ts~m~re men lmra Nore.stngt» antt ram-te wedneth mac Famt 3200 1101

uNlFoRM \Nsmumsmr~vaeerans mens y V Amenaed stan

vlle,-® N\Pse 41103t.oo

Wotte¢s Kiuwer Finnnciat Serv|ces Page 3 at 3
Pay to the order of

 

without recourse thls___ttay ol 20____.
Freedom Mortgage Corporatlon

 

Stan|ey C. Mldd|eman
Presldent/Chiet Executtve Oft|cer

 

